 

Case 2:13-0\/- 04735- S|\/|- |\/|BN Document 1- 2 Filed 06/06/13 Page 1 of 14

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40TH JUDICIAL DISTRICI` COURT FOR THE PARISH OI~` ST JOHN 'I'HE BAPTIST
STATE OF LOUISIANA
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No. (r'"i‘i[‘i§ g DIvlsIoN‘C/
NoRA coxua AND mcm$'i?o)ns
VS. ed
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1 .
PETI'I`ION FQR DAMAGES

NOW INTO COURT, through undersigned counsel, come plaintiffs, Nora Coxie,
and Riehard T. Coxie, residents of the City of LaPlaee, parish of St. John the Baptist,
State of Louisiana, l`or the purpo:se of filing this lawsuit against the following named
defendants Plaintiffs are both pe‘?sons of full age of majority and authorized to file this
lawsuit pursuant to Louisiana Code of Civil Procedure and all applicable Articles

l.

Made defendants herein are:

l. TherEx, lnc., a healthcare provider authorized to do and doing business in the
City of LaPlace, Parish of St. .lohn the Baptist, State of Louisiana, which was
at all times and unqualified healthcare provider pursuant to the Rules of
Louisiana Medica] Mal`practice Act and the State of Louisia.na.

2. ABC lnsurance Compiiny, believed to be a foreign insurance company
authorized to do and doing business in the State of Louisiana, which was at all
times the professional liiii)ility carrier for TherEx, lnc.

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Peuson=rs submit nm minimum are liable jomuy, severally, and in solido,

for any and all damages suffered herein by plaintiffs

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llI.

Plaintiffs submit that a cd'inpanion medical malpractice complaint has been filed
against R.iver Parishes Hospital, iiihich was at all times, allegedly, a qualified healthcare
provider, and is also responsible;‘_for any damages sutl`ered herein by plaintif£s, jointly,

§‘ '
severely, and in solido with any and all other defendants named in this matter, including
the above listed defendants

‘ rv.

 

Plaintifi`s submit that 'I'l'ierl?.x is the exclusive provider of rehabilitation services
and physical therapy at River Parishea HospitaL and provided care to Mrs Coxie herein.
Plaintift`s allege that on or about November 2, 2011 she was scheduled for right knee
replacement which was performed by Dr. William Johnson of River Parishes Hospital.
After the surgery was complete, the patient was transferred to a private room and
physical therapy was present Iihysical therapy, and/or TherEx. and/or its employees
and/or staff, were designated to pl:i‘ivide physical therapy to the patient.

V.

Dr. Iohnson, saw the paiient after surgery. Also present was the physical
therapist, namely TherEx who was told by Dr. Johnson that they were to assist Mrs.
Coxie with walking and physical therapy, and Mrs. Coxie was only to walk with the help
or physical therapist Mrs. cone ins wm mar a bed pan would nor be provides ana isn
if she needed to use the restroom, that she should request assistance to the restroom.

VI.

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the restroom, she was to walk to th‘e restroom and use such on her own.
q Vil.

On the night of the surgery,`Mrs. Coxie needed to use the restroom and continually
hit her call button for assistance i'Despite several attempts and assurances that someone
would be coming, no one ever dirived As a result Mrs Coxie, unabl to wait any

longer. was assisted to the restrodm by her husband. However, during the trip, her leg

gave out and she fell. n

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VII[.

Mrs. Coxie was advised, filler MRI’s were taken, that she had tom ligaments and

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needed additional surgery on hef left knee. Furthermore, Dr. Johnson explained that
assistance should have been provided and that 'I`herEx should never have told Mrs. Coxie
to ambulate on her own without trained personnel.
11 IX-
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help and should not have ambulated without assistance The physical therapist requested
that she be allowed to continue to provide physical therapy to Mrs. Coxie, however, Mrs.
Coxie stated that she would no longer rely upon them and needed new physical therapist

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to assist her. .
51 X_

As a result of the negligrince of TherEx andfor its employees and/or its staf’f,
and/or the negligence of River Piirishes Hospital andfor its nurses and/or its stafl`, Mrs.
Coxie suffered permanent nerve damage, delayed healing pWC¢SS. additional snrgery, and
other damages including loss of ehjoyment of life, medical expenses, pain and suffering
future pain and suffering fumre'iloss of enjoyment of life, and several other damages
which will be proven at trial.

XI.

Pursuant to the Medical Malpractiee Act, an Arnended Complaint was filed
against TherEx, alter petitioners'were advised that TherEx was not employed by the
hospital. 'l'he Complaint was filed on February 26, 2013. In March of 2013, Mrs. Coxie
was advised, by the PCF. that TherEx was non-qualified Pursuant to Louisiana Medical
Malpractice Act this civil lawsuit;§"is being filed timely and pursuant to the rules of La.

lLS. 40:1299.41 er seg., suit again§t 'IherEx as a non-`qualitied healthcare provider.

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XII.

Petitioners submit that at all times 'lberEx was provided coverage by ABC
lnsurance Company, for its acts of professional misconduct andfor breaches of the
applicable standards of care. A_s such, ABC ins. Co. is liable jointly, severely and in
solido with TlterEx, lnc.

Xlll.

Mr. Coxie, as a muir of Mrs. Coxie’s injuriesl suffered loss of consortium

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damages herein. Furtherrnore, at'all relevant times Mr. and Mrs. Coxie were married

pursuant to the laws cf Louisiana, and as such, Mr. Coxie has his separate clath for loss

of enjoyment of life, ss well as for damages suffered as a result of witnessing Mrs. injury
and her pain and suffering. Mr. Coxie was present st the time of the injury and is thus
entitled to LeJeune damages pursuant to Louisiana law.

XIV.

Petitionus submits inst niey ass ssuusd w Tn‘sl by Jury ss sit issues raised
herein ssa pray for Trisl by mel°f

' XV.

Petitioners deny any and all comparative and/or contributory negligence in this
matter, and submit that the sole causes of Mrs. Coxie’s injuries and Mr. Coxie's injuries,
were the actions of 'IherEx, its entployees and/or staff, and/or other defendants who are
subject to the medical review pant':l.

WHERFORE, petitioners pray that this lawsuit be deemed good and suHicient,
and after all due proceedings be bad, there by ludgment rendered herein in favor of the
psudsssss ssd against ms dsfsd‘dssns, binding uss defendants liable for ssy ssd sit
damages suffered herein by petitioners including but not limited to legal interest from the
date of judicial demand, all cole and any and all damages which are equitable and

allowed by Louisiana |aw.

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939 N a ay Blvd., Ste. 200
M¢lairie, Lo ` 70002
Telephone: (504) 846-5700
Facsimile: (504) 846-5?22

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Parish ofSt. John the Baptist 1233"’721

2393 LA Highway 18 (River Road)

Edgai~d, LA 70049

Re: Nora Coxie and Richard T. Coxie vs. 'I`herEx et al
¢l[l'h JDC
§B[ Fj]e Ng. l95§
near eisen ’

Attached for fax filing` is our Petition for Dainages which Iwou|d appreciate your
filing into the captioned matter. Once I recciv ve your facsimile transmission receipt
advising of your filing fee we will forward the originals and our check within five (5) days.

Thank you and please contact my otiiee should you have any questions

chael Daly, Jr.
JMD/cdm
Enclosure

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seven (7} days.

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NORA COXIE AND RICHARD T. COX]E
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VS.

'iHEREX, INC. & ABC INSURANCE COMPAN'Y
Etiana D¢Francuch - clerk otcourr
FLL,ED; Fited: Apr 11. 2013 10:31 m

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PETrrtoN FoR DAMAGES
NOW INTO COURT, through undersigned counsel, come plaintiffs, Nora Coxie,
and Richard T. Coxie, residents of the City of LaPlace, Parish of St. John the Baptist,

State of Louisiana, for the purpos§ of filing this lawsuit against the following named

defendants Plaintiffs arc both persons of full age of majority and authorized to file this

lawsuit pursuant to Louisiana Code :of Civil Procedure and all applicable Articles
l 1.

Made defendants herein are:

l. TherEx, Inc., a healthcare provider authorized to do and doing business in the
City of LaPlace, Parish qf St. John the Baptist, State of Louisiana, which was
at all times and unqualified healthcare provider pursuant to the Ru|cs of
Louisiana Medica| Maipractice Act and the State of Louisiana.

2. ABC Insurance Compa:ly, believed to be a foreign insurance company
authorized to do and doir§g business in the Statc of Louisiana, which was at all
times the professional liability carrier for TherEx, Inc.

il II.

l
Fetitioners submit that the defendants are liable jointly, severally, and in solido,

for any and all damages suffered herein by plaintiffs

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lII.

Plaintiffs submit that a corripanion medical malpractice complaint has been filed
against River Parishes Hospital, which was at all timcs, allegedly, a qualified healthcare
provider, and is also responsible for any damages suffered herein by plaintiffs, jointly,
severely, and in solido with any and all other defendants named in this matter, including
the above listed defendants ii

»\ [V.

Plaintiff`s submit that Therli.x is the exclusive provider of rehabilitation services
and physical therapy at River Parishes Hospital, and provided care to Mrs. Coxie herein.
Plaintiffs allege that on or about November 2, 2011 she was scheduled for right knee
replacement which was performed by Dr. William Johnson of River Parishes Hospital.
Al’ter the surgery was complete, the patient was transferred to a private room and
physical therapy was present. Ph]ysicai therapy, and/or TherEx, and/or its employees
and/or staff, were designated to pro¥ide physical therapy to the patient

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V.

Dr. Johnson, saw the pati;nt after surgery. Also present was the physical
therapist, namely 'I'herEx who was told by Dr. Johnson that they were to assist Mrs.
Coxie with walking and physical therapy, and Mrs. Coxie was g_r_\_ly to walk with the help
of physical therapist. Mrs. Coxie was told that a bed pan would not be provided, and that
if she needed to use the restrocm, that she should request assistance to the restroom.

vI.

TherEx, changed the doctor’s orders, and told Mrs. Coxie that if she needed to use

the restroom, she was to walk to the-restroom and use such on her own.
iii VII.
On the night of the surgery, him Coxie needed to use the restroom and continually

hit her call button for assistance Despite several attempts and assurances that someone

 

would be coming, no one ever arrived As a result, Mrs. Coxie, unable to wait any
longer, was assisted to the restroom by her husband However, during the trip, her leg

gave out and she feil.

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VIII.

Mrs. Coxie was advised, after MR]’s were taken, that she had tom Iigarnents and
needed additional surgery on her left knee. Furthermore, Dr. Johnson explained that
assistance should have been provided and that TherEx should never have told Mrs. Coxie
to ambulate on her own without trained personnell

`:" ix.

Physical therapy, namely TlierEx, and/or its employees and!or staff returned the
next day and apologized for insniibting Mrs. Coxie to walk on her own. Mrs. Coxie
alleges that members of 'I`herEx admitted to Mrs. Coxie that she should have received
help and should not have ambulated without assistance The physical therapist requested
that she be allowed to continue to provide physical therapy to Mrs. Coxie, however, Mrs.
Coxie stated that she would no longer rely upon them and needed new physical therapist
to assist her.

§ X.

As a result of the negligenbe of TherEx and/or its employees and/or its staff,
and/or the negligence of River Par‘i]shes Hospital and/or its nurses and/or its stafi`, Mrs.
Coxie suffered permanent nerve damage, delayed healing process, additional surgery, and
other damages including loss of en_ibyment of life, medical expenses, pain and suffering
future pain and suffering nature less of enjoyment of life, and several other damages
which win be proven amiai. ` `

XI.

Pursuant to the Medical hdalpmctice Act, an Amended Cornplaint was filed
against TherEx, after petitioners were advised that TherEx was not employed by the
hospital. 'I`he Complaint was filed on February 26, 2013. ln March of 2013, Mrs. Coxie
was advised, by the PCF, that 'I`heer was non-qualified Pursuant to Louisiana Medical

Malpractice Act this civil lawsuit is being filed timely and pursuant to the rules of La.

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R.S. 40:1299.41 et seq., suit against :TherEx as a non-qualified healthcare provider.
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XII.

Petitioners submit that at .all times 'I`herEx was provided coverage by ABC
Insurance Company, for its acts of professional misconduct, and/or breaches of the
applicable standards of care. As such, ABC lns. Co. is liable jointly, severely and in
solido with 'I`herEx, Inc. l

Xill.

Mr. Coxie, as a result ofm.`;l\drs. Coxie’s injuries, suffered loss of consortium
damages herein. Furt.hennore, at all relevant times Mr. and Mrs. Coxie were married
pursuant to the laws of Louisiana, and as such, Mr. Coxie has his separate claim for loss
of enjoyment of life, as well as for,damages suffered as a result of witnessing Mrs. injury
and her pain and suffering Mr. Coxie was present at the time of the injury and is thus
entitled to LeJenne damages pursuant to Louisiana law,

XIV.

Petitioners submits that they are entitled to Trial by Jury on all issues raised
herein, and pray for Trial by Jury.

XV.

Petitioners deny any and all comparative and/or contributory negligence in this
matter, and submit that the sole causes of Mrs. Coxie’s injuries and Mr. Coxie’s injuries,
were the actions of TherEx, its employees and/or staff, and/or other defendants who are

,¢l
subject to the medical review panel

WHERFOR.E, petitioners pray that this lawsuit be deemed good and sufficient
and after all due proceedings be had, there by Judgment rendered herein in favor of the
petitioners and against the defendants, holding the defendants liable for any and all
damages suffered herein by petitioners including but not limited to legal interest from the

date of judicial demand, all cost, and any and all damages which are equitable and

allowed by Louisiana law.

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Telephonc: (504) 846-5700
Facsimile: (504) 846-5722

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40TH JUDlClAL DISTRICT COURT FOR THE PARISH OF ST JOHN THE BAPTIST
STATE OF LOUISIANA

No. fo LI 7 il § l DIVISION “ C,/
NoRA coxra AND chHAar) 'r. coxls
' vs.

Elim. w THER.EX. INC. & A.BC INSURANCE COMPANY
much -Cl\rlt of Cou|t
FILED: F“°°`- Apr17,2013 10.-37AM

 

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TO: TherEx, lnc.
Through their attorney of record
Robert Kem‘gan
Deutsch, Kerrigan & Stiles
’!55 Magazine Street

New Orleans, Louisiana 70130 \\_

NOW INTO COURT, through undersigned counsel, come plaintiff Nora Coxie, who
propounds the following Interrogatories 50 be answered, individually, within the legal time delays
provided by law, as follows:

INTERROGATOBY NUMBER l:

Please identify the name{s) of the individuals at TherEx, Ine- who provided physical therapy

at any and all relevant times to Mrs. Coxie.' /W

 
 
  
 
 
 
 
 

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..Y, .IR., #19539
. VALK.ER, # 13]68

 

AL LLP
3 39 N. B|vd., Suite 200
Mctairie, LA 0

Facsimile: (504) 846-5?22

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Undersigned cetmsel hereby certifies that a copy of the above and foregoing has been

forwarded to all counsel of record by depositing e in the U.S. Mail postage prepaid and properly

  

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address-edens l§§ day oprru 2013.

